        Case 1:18-mc-00167-ABJ Document 140 Filed 02/25/22 Page 1 of 1


                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.

 PAUL J. MANAFORT, JR., et al.,

                   Defendants.


 IN RE: PETITIONS FOR RELIEF                          Case No. 1:18-mc-00167-ABJ
 CONCERNING CONSENT ORDER OF
 FORFEITURE

                                 APPEARANCE OF COUNSEL

To:    The clerk of court and all parties of record

       I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for The Federal Savings Bank and National Bancorp Holdings, Inc.



 Dated: February 25, 2022                             Respectfully submitted,

                                                      /s/ Mark D. Harris
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